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January 8, 2021

By ECF

Honorable Vernon S. Broderick
                                                                         1/11/2021
United States District Court
Southern District of New York                               Defendant's surrender date is extended until March 26, 2021
                                                            before 2 p.m. at his designated facility.
40 Foley Square
New York, New York 10007

Re: United States v. David Vasquez, 20 Cr. 59 (VSB)

Dear Judge Broderick:

I write to respectfully request that the Court extend David Vasquez’s voluntary surrender date
(currently January 21, 2021) by 60 days. On November 20, 2020, this Court sentenced Mr.
Vasquez to 84 months’ imprisonment on his conviction for participating in a cocaine-distribution
conspiracy under 21 U.S.C. §§ 846 and 841(b)(1)(B). The BOP has not yet designated him to a
facility. And, as this Court knows, COVID-19 cases continue to spike, and remain a serious
problem in our nation’s jails and prisons. For these reasons, and in light of Mr. Vasquez’s health
problems (discussed in detail at sentencing), I respectfully request that the Court extend his
voluntary surrender date by 60 days.

Thank you for your attention to this request.

Sincerely,

/s/ Jonathan Marvinny
Jonathan Marvinny
Assistant Federal Defender
212.417.8792
jonathan_marvinny@fd.org

cc:   Juliana N. Murray, Esq.
      Assistant United States Attorney
